                                UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF LOUISIANA


    GLENN WASHINGTON                                          *             CIVIL ACTION NO.:
                                                              *             2:22-04054
    VERSUS                                                    *
                                                              *
                                                              *             CHIEF JUDGE
    SAFEPOINT INSURANCE COMPANY                               *             NANNETTE JOLIVETTE
                                                              *             BROWN
                                                              *
                                                              *             MAGISTRATE JUDGE
                                                                            DONNA PHILLIPS
                                                                            CURRAULT
    ***************************                               *

     MEMORANDUM IN SUPPORT OF MOTION TO COMPEL AND MOTION FOR
                            SANCTIONS


        Defendant, Safepoint Insurance Company (“Safepoint”), submits the following

Memorandum in Support of its Motion to Compel and Motion for Sanctions:

        I.       PLAINTIFF HAS REFUSED TO MAKE HIS PROPERTY REASONABLY
                 AVAILABLE FOR INSPECTION.

        On December 30, 2023, Plaintiff provided an additional report from his public adjuster

Gary Sanders.1 This report essentially doubled the alleged amount of loss and included various

structural issues not included in Mr. Sanders’ initial report.2 Because of this, on January 5, 2024,

undersigned counsel contacted counsel for Plaintiff and requested that Plaintiff make the property

available for an inspection by an engineer and adjuster.3 On January 8, 2024, counsel for Plaintiff

responded requesting the basis and parameters for the inspection, and undersigned counsel




1
  Exhibit 1, Correspondence from Plaintiff’s counsel and attached subsequent report from Gary Sanders.
2
  Id.
3
  Exhibit 2, Correspondence to Plaintiff’s counsel requesting inspection.



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immediately replied explaining the necessity of the inspection.4 However, Safepoint did not

receive a response regarding the inspection.

        On January 10, 2024, Safepoint took the deposition of Plaintiff. Following the deposition,

counsel for Plaintiff advised that he needed time to determine if he would allow the inspection.

Accordingly, on January 12, 2024, Safepoint sent a follow-up email requesting that the insured

make the property reasonably available for inspection on January 15th or 16th, or in the alternative,

provide additional dates that the property could be made available for inspection.5 However,

Safepoint has not received a response to date.

        Regarding inspections of the insured property, the Safepoint policy at issue provides the

following language:

        4.       Your Duties After Loss

        In case of a loss to covered property, you must see that the following are done:
        […]

        d.       As often as we reasonably require:
                 (1) Show the damaged property;
                 (2) Provide us with records and documents we request and permit us to
                     make copies; and
                 (3) Submit to examination under oath, while not in the presence of any
                     other named insured, and sign the same[…]6

        Based on the above language, the Safepoint policy requires that Plaintiff show the damaged

property as often as Safepoint reasonably requires. However, Plaintiff has refused to allow for the

inspection, and thus has failed to comply with the terms of the Safepoint policy.




4
  Exhibit 3; Correspondence regarding inspection.
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  Exhibit 4; Additional correspondence requesting inspection.
6
  Exhibit 5; Certified Copy of Policy

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        In addition, Fed. R. Civ. P. 34(a)(2) allows a party to serve a request to “permit entry onto

designated land or other property so that the requesting party may inspect.”7 Further, Fed. R. Civ.

P. 37(a)(3)(B) allows a party to move for an Order compelling an inspection. As discussed above,

Safepoint has made multiple requests to inspect the property but have not received a response.

Therefore, Safepoint respectfully requests that this Court issue an Order, pursuant to Fed. R. Civ.

P. 37(a)(3)(B), compelling Plaintiff to comply with the terms of his policy by making the property

available for inspection.

        II.      PLAINTIFF HAS FAILED TO COMPLY WITH THIS COURT’S ORDER
                 TO PROVIDE FULL AND COMPLETE DISCOVERY RESPONSES.

        On June 30, 2023, Safepoint served Plaintiff’s counsel with Interrogatories, Requests for

Production of Documents, and a blank Discovery Verification form.8 However, Plaintiff failed to

respond to Safepoint’s Discovery Requests within thirty (30) days of service thereof, as required

by Fed. R. Civ. P. 33(b) and Fed. R. Civ. P. 34(b).

        Because of this, Safepoint was forced to file a Motion to Compel seeking an Order

compelling Plaintiff to respond to the Interrogatories and Requests for Production propounded

upon him (R. Doc. 18). This Court then issued an Order on October 18, 2023, requiring that

Plaintiff provide full and complete responses to the discovery requests within 21 days of the Order

(R. Doc. 20).

        Despite this Order, Plaintiff did not provide any responses until November 20, 2023.9

Additionally, these responses only included Answers to Safepoint’s Interrogatories and did not

provide any of the documents requested.10 Undersigned counsel notified Plaintiff of this issue on


7
  Fed. R. Civ. P. 34(a)(2).
8
  Exhibit 6, Correspondence to Plaintiff with discovery requests and corresponding forms.
9
  Exhibit 7, Correspondence from Plaintiff and attached Answers to Interrogatories.
10
   Id.

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November 29, 2023.11 In response, Plaintiff began periodically providing some of the requested

documents to Safepoint. However, Plaintiff has yet to provide all documents requested in

Safepoint’s Request for Production. Namely, Plaintiff has yet to produce all photographs of the

property from 2005 to present, all lease agreements, all invoices/bills for the performance of any

services in relation to the property from 2005 to present, and Plaintiff’s Federal and State tax

returns for the past five years. Safepoint reiterated that at least some of these documents were

outstanding on January 12, 2024, but no additional documents have been provided.12

          Fed. R. Civ. P. 37(b)(2)(A) allows for the Court to impose sanctions or take further

necessary action when a party fails to obey a Discovery Order. Based on the foregoing, Plaintiff

has failed to comply with this Court’s Discovery Order. Safepoint therefore requests that this

Court impose sanctions against Plaintiff pursuant to Fed. R. Civ. P. 37 (b)(2).

          III.     CONCLUSION

          Plaintiff has failed to provide complete discovery responses, disobeyed this Court’s order

to do so, and has failed to make the property available for inspection. Accordingly, Defendant,

Safepoint Insurance Company, respectfully requests that this Honorable Court grant its Motion to

Compel and Motion for Sanctions.




                                   [Signature block on the following page.]




11
     Exhibit 8, Correspondence regarding outstanding discovery.
12
     Exhibit 4.
                                                         4
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                                       Respectfully submitted,


                                        /s/ John A. Doran
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                                        Attorneys for Defendant, Safepoint               Insurance
                                        Company




                                       CERTIFICATE

        I HEREBY CERTIFY that the above and foregoing was electronically filed with the

Clerk of Court of the Eastern District of Louisiana by using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record, on this 19th day of January, 2024.




                                                       /s/ John A. Doran
                                                      NICHOLAS P. ARNOLD
                                                      JOHN A. DORAN




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